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12    Attorney for Defendants Alpine Securities Corporation
      and Joseph Walsh
13
                                     UNITED STATES DISTRICT COURT
14
                                               DISTRICT OF NEVADA
15
      UNITED STATES SECURITIES AND                      Case No.: 2:22-cv-01279-RFB-MDC
16
      EXCHANGE COMMISSION,
17
                      Plaintiffs,
18                                                     ALPINE SECURITIES’ UNOPPOSED
      v.
                                                       MOTION TO AMEND SCHEDULING
19
      ALPINE SECURITIES CORPORATION,                   ORDER (FIFTH REQUEST)
20    CHRISTOPHER DOUBEK, and JOSEPH
      WALSH,
21
                      Defendants.
22
23
              Pursuant to Local Rules (“LR”) 6-1 and 26-3, and the Court’s Stipulated Discovery Plan
24
      and Scheduling Order dated September 15, 2023, Dkt. No. 41 at ¶ 10 (the “Scheduling Order”),
25
      Defendant Alpine Securities Corporation respectfully submits this motion to extend current
26
      deadlines related to dispositive motions. Plaintiff, the United States Securities and Exchange
27
      Commission has informed Alpine that it does not oppose the relief sought in this motion. This
28
      is the fifth request for an extension.

                                                    1 of 4
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 1           This extension is requested because new local counsel has now been retained for
 2    defendants Alpine Securities and Joseph Walsh following the withdrawal of prior local counsel.
 3    The deadline for dispositive motions is currently set for this Thursday, October 10, 2024, and
 4    undersigned counsel requests an eight-day extension to allow newly retained local counsel an
 5    opportunity to familiarize themselves with the matter and assist in the preparation and filing of
 6
      defendants’ motion for summary judgment.
 7
             Alpine believes that this extension is appropriate and requests an extension to the
 8
      following paragraphs of the Amended Scheduling Order (Dkt. No. 76), with the proposed
 9
      extension dates also set forth below:
10
             6. Dispositive motion deadline: October 18, 2024; oppositions due November 8, 2024;
11
             replies due November 22, 2024.
12
             7. Pretrial order. The deadline for the parties to file a joint pretrial order is November 18,
13
      2024, 30 days after the dispositive-motion deadline.
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     Case 2:22-cv-01279-RFB-MDC Document 86 Filed 10/11/24 Page 3 of 6




 1           For the reasons set forth above, Defendant Alpine Securities Corporation respectfully
 2    submits that there is good cause to amend the scheduling order in this matter. A proposed order
 3    amending the pertinent dates of the Amended Scheduling Order is included.
 4           DATED this 8th day of October, 2024.
 5                                                HUTCHISON & STEFFEN, PLLC
 6
                                                  /s/ Ramez Ghally
 7                                                ______________________________
                                                  Joseph C. Reynolds (8630)
 8                                                Ramez A. Ghally (15225)
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14                                                Attorney for Defendants Alpine Securities
15                                                Corporation and Joseph Walsh

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                                                  3 of 4
     Case 2:22-cv-01279-RFB-MDC Document 86 Filed 10/11/24 Page 4 of 6




 1                                       CERTIFICATE OF SERVICE
 2            I hereby certify that I am an employee of Hutchison & Steffen, PLLC, and that on this
 3
      8th day of October, 2024, I caused a copy of ALPINE SECURITIES’ UNOPPOSED
 4
      MOTION TO AMEND SCHEDULING ORDER (FIFTH REQUEST) to be electronically
 5
      filed with the Clerk of the Court using the CM/ECF system, which will send notification of such
 6
      filing to all counsel of record.
 7
 8
                                                        /s/ Heather Bennett
 9                                                ____________________________________
10                                                An employee of Hutchison & Steffen, PLLC

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     Case 2:22-cv-01279-RFB-MDC Document 86 Filed 10/11/24 Page 5 of 6




 1                                 UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3    UNITED STATES SECURITIES AND                   Case No.: 2:22-CV-01279-RFB-MDC
      EXCHANGE COMMISSION,
 4                                                   [PROPOSED] AMENDED SCHEDULING
                     Plaintiffs,                     ORDER
 5
      v.
 6
 7    ALPINE SECURITIES CORPORATION,
      CHRISTOPHER DOUBEK, and JOSEPH
 8    WALSH,
 9                   Defendants.
10
11           WHEREAS, on September 15, 2023, the Court entered the Stipulated Discovery Plan
12    and Scheduling Order, Dkt. No. 41 (“the Scheduling Order”);
13
             WHEREAS on December 28, 2023, upon the Plaintiff’s motion, the Court entered an
14
      Order Amending Certain Deadlines of Stipulated Discovery Plan and Scheduling Order, Dkt.
15
      No.63 (the “Amended Scheduling Order”);
16
             WHEREAS on February 2, 2024, upon Plaintiff’s motion, the Court entered an Order
17
      Amending Certain Deadlines of Stipulated Discovery Plan and Scheduling Order, Dkt. No. 66
18
      (the “Second Amended Scheduling Order”);
19
             WHEREAS on June 21, 2024, upon Defendant Alpine Securities Corporation’s motion,
20
      the Court entered an Order Amending Certain Deadlines of Stipulated Discovery Plan and
21
      Scheduling Order, Dkt. No. 73 (the “Third Amended Scheduling Order”);
22
23           WHEREAS on September 25, 2024, upon Defendant Alpine Securities Corporation’s

24    motion, the Court entered an Order Amending Certain Deadlines of Stipulated Discovery Plan

25    and Scheduling Order, Dkt. No. 76 (the “Fourth Amended Scheduling Order”);

26           WHEREAS, on October 7, 2024, Defendant Alpine Securities Corporation moved for

27    good cause to extend certain of the deadlines in the Amended Scheduling Order related to the
28    filing of dispositive motions;


                                                 1 of 2
     Case 2:22-cv-01279-RFB-MDC Document 86 Filed 10/11/24 Page 6 of 6




 1           WHEREAS, Plaintiff the United States Securities and Exchange Commission (the
 2    “SEC”) has indicated that it does not oppose the requested extensions; and
 3           WHEREAS, good cause for the extensions having been established;
 4           IT IS HEREBY ORDERED that the following paragraphs and deadlines of the Amended
 5    Scheduling Order, Dkt. No. 76, are amended as follows:
 6
             6. Dispositive motion deadline: October 18, 2024; oppositions due November 8, 2024;
 7
             replies due November 22, 2024.
 8
             7. Pretrial order. The deadline for the parties to file a joint pretrial order is November 18,
 9
      2024, 30 days after the dispositive-motion deadline.
10
11
12
             DATED October 11, 2024.
13
14                                                   SO ORDERED:

15
16                                                   ______________________________________
17                                                   RICHARD F. BOULWARE, II
                                                     UNITED STATES DISTRICT JUDGE
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